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                               No. 23-5285


                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


                CENTER FOR BIOLOGICAL DIVERSITY,
                        Plaintiff-Appellant,

                                        v.

               U.S. FISH AND WILDLIFE SERVICE, et al.,
                         Defendants-Appellees.


      Appeal from the U.S. District Court for the District of Columbia
                            No. 1:21-cv-00791
                         Hon. Timothy J. Kelley


    JOINT MOTION TO AMEND THE BRIEFING SCHEDULE



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     JOINT MOTION TO AMEND THE BRIEFING SCHEDULE

      1.    For the reasons set forth below, Plaintiff-Appellant Center for

Biological Diversity (“the Center”) and Defendants-Appellees U.S. Fish and

Wildlife Service, Martha Williams, in her official capacity as Director of the

Fish and Wildlife Service, and the Secretary of the Interior (“the Service”)

jointly move to alter the briefing schedule in the above-captioned case as

follows:

            Appellant’s Brief               July 31, 2024
            Appellees’ Brief               September 27, 2024
            Appellant’s Reply Brief         October 18, 2024
            Deferred Appendix              October 25, 2024
            Final Briefs                   November 8, 2024

      2.    Modification of the briefing schedule as proposed will enable

the Parties’ briefs to reflect anticipated relevant Supreme Court decisions

without the need for supplemental briefing. In this case, the Center seeks

judicial review inter alia of the Service’s interpretation of certain provisions

in the Endangered Species Act, 16 U.S.C. §§ 1531–1544. In the decision

under review, the district court applied the framework for judicial review of

agencies’ interpretation of statutes they administer set forth in Chevron

U.S.A., Inc. v. Natural Resources Defense Council, 467 U.S. 837 (1984).

The district court held that, for two of the provisions at issue, Congress had



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not spoken directly to the precise question at issue. The court then moved

to the second step of the Chevron framework and determined that the

Service’s interpretation was reasonable. The court therefore deferred to the

Service’s interpretation. Ctr. for Biological Diversity v. U.S. Fish & Wildlife

Serv., No. CV 21-791 (TJK), 2023 WL 6388936, at *15 (D.D.C. Sept. 30,

2023) (summarizing the court’s holding). Whether the district court

properly applied the Chevron framework is a central issue in this case.

      3.    This term, the Supreme Court is considering Loper Bright

Enterprises v. Raimondo, No. 22-451 (S. Ct.) and Relentless, Inc. v.

Department of Commerce, No. 22-1219 (S. Ct.). A Question Presented in

both cases is “[w]hether the Court should overrule Chevron or at least

clarify that statutory silence concerning controversial powers expressly but

narrowly granted elsewhere in the statute does not constitute an ambiguity

requiring deference to the agency.” It is widely expected that the Supreme

Court’s decisions in Loper Bright and Relentless will clarify the standard of

review courts should apply when reviewing agencies’ interpretation of the

statutes they administer.

      4.    Because the district court relied on the Chevron framework in

the decision under review, the Loper Bright and Relentless decisions will

likely be important to the proper resolution of this case. Yet under the



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current briefing schedule, it is probable that the parties’ briefs will be

submitted before the Supreme Court issues its decisions. To provide this

Court with the most helpful briefs possible, and to avoid the need for

supplemental briefs, the Parties believe that it would be preferable to defer

briefing until after Loper Bright and Relentless are decided.

      5.    The Supreme Court is expected to issue its decision by the end

of June. If the Center’s brief is due July 31, as proposed, it would give the

Center at least 30 days to incorporate the Loper Bright and Relentless

decisions into its brief.

      6.    The Service’s answering brief would ordinarily be due 30 days

later. Fed. R. App. P. 31(a)(1). The Service requires additional time,

however, for two reasons.

      7.    First, substantial time is required for review and approval of the

Service’s brief by interested federal agencies, Department of Justice

attorneys, and the Office of the Assistant Attorney General for the

Environment and Natural Resources Division.

      8.    Second, lead counsel for the Service has previously scheduled

leave from August 15 through September 3 and will be unable to work on

the brief during that time. Extending the deadline for the Service’s brief to




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September 27 would allow for the orderly completion of the federal review

and approval process while allowing time for the Service’s counsel’s leave.


                              CONCLUSION

     For the foregoing reasons, the Parties jointly ask that the Court

amend the current briefing schedule to reflect the proposed schedule set

forth in paragraph 1 above.



Respectfully submitted,

 /s Kristine M. Akland                       /s Christopher Anderson

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                                      s/ Christopher Anderson
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